
651 So.2d 276 (1995)
Larry RANDOLPH
v.
GENERAL MOTORS CORPORATION, General Motors Detroit Diesel Allison Division, FMC Corporation, Link Belt, a Division of FMC Corporation, Link Belt Corporation, Link Belt Construction Equipment Company, Reco Crane Company, Inc., United Diesel, Incorporated, Terrebonne Parish Consolidated Government, Terrebonne Parish Police Jury and Terrebonne Parish.
No. 95-C-0194.
Supreme Court of Louisiana.
March 17, 1995.
Denied.
VICTORY, J., would grant the writ.
DENNIS, J., not on panel.
